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                        BEFORE THE UNITED STATES JUDICIAL PANEL
                             ON MULTIDISTRICT LITIGATION


IN RE: HOTEL BOOKING ACCESS FOR                            MDL DOCKET NUMBER: 2978
       INDIVIDUALS WITH DISABILITIES


                               SCHEDULE OF RELATED ACTIONS

     Plaintiffs          Defendants             District       Case No.        Judge
1    Deborah Laufer      Mahakali Inc.          Southern       3:20-cv-01163   Staci M. Yandle
                                                Illinois
2    Deborah Laufer      Jai Shiv Shakti Inc.   Southern       3:20-cv-01164   David W.
                                                Illinois                       Dugan
3    Deborah Laufer      BWI Hotel Holding II   Maryland       1:20-cv-03250   Stephanie A.
                         LLC                                                   Gallagher
4    Deborah Laufer      Akshar Corporation     Maryland       1:20-cv-3251    Stephanie A.
                                                                               Gallagher
5    Deborah Laufer      VASU Inc.              Maryland       1:20-cv-03264   Stephanie A.
                                                                               Gallagher
6    Deborah Laufer      Patel Hiteshbhai       Maryland       1:20-cv-3265    Stephanie A.
                                                                               Gallagher
7    Deborah Laufer Katha Inc.                  Western New    6:20-cv-06978   Lawrence J.
     and Saim Sarwar                            York                           Vilardo
8    Saim Sarwar         Stuart Henry and Carol Western New    6:20-cv-06984   Elizabeth A.
                         Henry                  York                           Wolford
9    Deborah Laufer      Rajul Corporation      Middle         1:20-cv-02025   Christopher C.
                                                Pennsylvania                   Conner
10   Deborah Laufer      Vishva Corporation     Middle         4:20-cv-02026   Matthew W.
                                                Pennsylvania                   Brann
11   Deborah Laufer      Georgia and Edward     Western        1:20-cv-00321   Susan Paradise
                         Lavalle                Pennsylvania                   Baxter
12   Deborah Laufer      Omshiva Hospitality    Western        2:20-cv-01731   William
                         LLC                    Pennsylvania                   Stickman
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                             Respectfully submitted,

                             HOTELS AND STUFF INC.

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